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IN THE UNITED sTATEs DISTRICT coURT "`“' °'C‘
FOR THE wESTERN DISTRICT oF TENNESSEE 05 JUL 22 PH _
wEsTERN DIvIsIoN " 58

 

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W 0:~' )SYC,§;HCSM

UNITED STATES OF AMERICA
Plaintiff,

`V.

1 iff 25;/' /?;a{g /p/_rn{

Criminal No. Q:_lt_~ Zozf{ Ml

(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, SeDtember 23. 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in
open court at report date this 22nd day of July, 2005.

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with Rula 55 and/or ez(b) mch on /

Case 2:04-cr-20361-.]PI\/| Document 49 Filed 07/22/05 Page 2 of 3 Page|D 66

so ORDERED this 22nd day of July, 2005.

g€.m°OM

JON PHIPPS MCCALLA
UN ED STA'I'ES DISTRIC'I' JUDGE

 

 

Assistant Un'ted t s to ney

/r'
IV

 

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20361 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

